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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA




PARS EQUALITY CENTER, IRANIAN
AMERICAN BAR ASSOCIATION,
NATIONAL IRANIAN AMERICAN
COUNCIL, PUBLIC AFFAIRS ALLIANCE OF                             Case    No.     17-cv-255     (TSC)
IRANIAN AMERICANS, INC., ET AL.,

                               Plaintiffs,

        v.

DONALD J. TRUMP et al.,

                               Defendants.


             MOTION OF OXFAM AMERICA, INC. FOR LEAVE TO FILE BRIEF
                              AS AMICUS CURIAE

        Oxfam America, Inc. (“Oxfam”) moves this Court for leave to participate as amicus

curiae in support of Plaintiffs.

        1.       As set forth in the accompanying amicus curiae brief, Oxfam is non-

governmental organization that works around the globe to end poverty and challenge the

structural barriers that foster conflict and human suffering. Along with its parent organization,

Oxfam International, it plays a critical humanitarian role in responding to crises, its ultimate goal

is to address the root causes of violence and poverty by building up civil society so that

communities can address their own problems.

        2.       Oxfam has direct experience with refugees all over the world and an

understanding of the complex ways in which the Executive Order will affect resettlement and life

for refugees. Because of its work with refugees in these regions, Oxfam is uniquely positioned
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to provide the Court with current on-the-ground information about the impacts of the Executive

Order.

         3.       This Court has allowed amicus curiae participation “‘when the amicus has unique

information or perspective that can help the court beyond the help that the lawyers for the parties

are able to provide.’” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003) (quoting Ryan v.

Commodity Futures Trading Comm’n, 125 F.3d 1062, 1064 (7th Cir. 1997)).                   Oxfam’s

participation is appropriate for that reason. Oxfam’s parent organization, Oxfam International,

was founded 75 years ago to address the refugee crisis in Axis-occupied Greece, and Oxfam

itself has over 45 years of experience with refugees. Oxfam currently supports refugees and

displaced persons around the world and has first-hand knowledge of the refugee resettlement

regime and the conditions of refugees on the ground.

         Here, Oxfam seeks to provide the Court with its expertise and experience regarding the

conditions and challenges refugees face as a result of the Executive Order. Oxfam is uniquely

qualified to provide a wide perspective on refugees because of its advocacy on behalf of refugees

in the United States and abroad, its support for resettlement organizations, and the direct aid

programs Oxfam provides to refugees abroad.

         3.       Counsel for Oxfam conferred with counsel for the Plaintiffs on July 3, 2017. The

Plaintiffs consented to the filing of this amicus curiae brief.

         4.       Counsel for Oxfam conferred with counsel for the Defendants on July 3, 2017.

The Defendants take no position as to the filing of this amicus curiae brief.

         5.       Oxfam attaches to this motion a proposed order pursuant to Local Civil Rule

7(o)(2) and a corporate disclosure certification pursuant to Local Civil Rule 7.1.




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Dated: July 5, 2017                         Respectfully submitted,

                                            By: /s/ Richard P. Bress

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                                            Counsel for Amicus Curiae Oxfam America,
                                            Inc.


July 5, 2017




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